                                                                         U.S. DISTRICT COURT
                                                                     NORTHERN DISTRICT OF TEXAS
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                                                                               OCT    3 2013
                        IN THE UNITED STATES DISTRIC COUR
                        FOR THE NORTHERN DISTRICT a TEJt    K, U.S. DISTRICT COURT
                                FORT WORTH DIVISION     By _ _--=-             _
                                                                                  Deputy

UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §        CRIMINAL NO. 4:12-CR-253-Y
                                                 §
JORDAN LANE POTTER (3)                           §

             REPORT OF ACTION AND RECOMMENDATION ON PLEA
               BEFORE THE UNITED STATES MAGISTRATE JUDGE

       This Report of Action on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).

This case has been referred by the United States district judge to the undersigned for the taking of

a guilty plea. The parties have consented to appear before a United States magistrate judge for

these purposes.

       The defendant appeared with counsel before the undersigned United States magistrate

judge who addressed the defendant personally in open court and informed the defendant of, and

determined that the defendant understood, the admonitions contained in Rule 11 of the Federal

Rules of Criminal Procedure.

       The defendant pled guilty (pursuant to a plea bargain agreement with the government) to

count one of the three-count superseding indictment charging defendant with the violation of 18

U.S.C. § 1708. The undersigned magistrate judge finds the following:

        1. The defendant, upon advice of counsel, has consented orally and in writing to
        enter this guilty plea before a magistrate judge subject to final approval and
        sentencing by the presiding district judge;

        2. The defendant fully understands the nature of the charges and penalties;



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       3. The defendant fully understands the terms of the plea agreement;

       4. The defendant understands all constitutional and statutory rights and wishes to
       waive these rights, including the right to a trial by jury and the right to appear
       before a United States district judge;

       5. The defendant's plea is made freely and voluntarily;

       6. The defendant is competent to enter this plea of guilty;

       7. There is a factual basis for this plea; and

       8. The ends of justice are served by acceptance of the defendant's plea of guilty.

       Although I have conducted these proceedings, accepted the defendant's plea of guilty, and

pronounced the defendant guilty in open court, upon the defendant's consent and the referral from

the United States district judge, that judge has the power to review my actions in this proceeding

and possesses final decision making authority. Thus, if the defendant has any objections to the

findings or any other action of the undersigned he should make those known to the United States

district judge within fourteen days of today.

       I recommend that defendant's plea of guilty be accepted and that the defendant be adjudged

guilty by the United States district judge and that sentence be imposed accordingly.

       Signed October 3,2013.



                                                         R - -. CURETON
                                                            STATES MAGISTRATE JUDGE

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